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IN THE ClRCUIT COURT OF THE THIRTEENTH JUDlClAL CIRCUIT
lN AND FOR HlLLSBOROUGH COUNTY, FLORIDA
CIVIL DIVISION

DAV}D BAUER.

Case Number: Ué?é dLJ/[é)/

 

 

Piaintit`f,
vs.
KOHL`S DEPARTMENT STORES. lNC.` Division: g
Defendant. JURY TRIAL DEMANDED
/
COMPLAINT

COMES NOW the Plaintifi`. DAViD BAUER, (hereinaf`ter, "Mr. Bauer")` by and through
Seraph Legal, P.A._. his attorneys, and complains ot` the Defendant\ KOHL’S DEPARTMENT
STORES, INC., (hereinaf`ter, “Kohl's"), as t`o|iows:
PRELIMINARY STATEMENT
l. This is an action brought by Mr. Bauer against Kohi`s for violations of the
Telephone Consumer Protection Act, 47 U.S.C. § 227, el. seq. (fhereinafter, "TCPA”) for
damages greater than $15,000.
JURISDICTION ANI) VENUE
2. .lurisdiction arises under the TCPA. 47 U.S.C. § 227. ei. seq.
3. Kohl`s is subject to the provisions of the TCPA and is subject to the jurisdiction
ofthis Court pursuant to section 48.|93(1)(a)(l). Florida Statutes.
4. Venue is proper in Hil|sborough County because the acts complained of were

committed and / or caused by Dei`endant within the County.

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5. Mr. Bauer is a natural person residing in Hillsborough County, Florida.
6. Kohl's is a Delaware corporation with a primary address of 129 Orange Street7

Wilmington. Delaware 19801, registered in Florida as a foreign corporation, with a registered
agent ot` Corporate Creations Network lnc., with an address of l 1380 Prosperity Farms Road,
Unit 221 E, Palm Beach Gardens. Florida 334 IO.

FACTUAL ALLEGATIONS

7. Sometime prior to June 26, 2012. Kohl's began calling Mr. Bauer's cellular phone
(239) 222-6566 via automated dialing equipment with pre-recorded content, utilizing an
artificial voice as defined by the TCPA pursuant to 47 U.S.C. § 227(a)(l).

8. The pre-recorded content of the calls typically would state: "Please hold
momentarily while we connect your call to a representative from Kohl's Department Store.
(Pause). We're sorry for the delay. (Pause)." Alter this. a representative of Kohl's would get on
the line and ask for a “Jeanine."

9. Some ot` the calls would repeat on a loop the aforementioned content, but no live
representative would ever come on the line.

lO. Mr. Bauer repeatedly demanded that the calls stop. but Kohl's did not stop calling.

l l. The calls came in to Mr. Bauer's cellular phone bearing the Caller lD ot`262-704-
9780 or 903-593-8790; both are numbers owned or controlled by Kohl`s.

lZ. Mr. Bauer is aware ot` automated calls made by Kohl's to his cellular phone on the
following dates. all in 2010: August 12, August 25, September 14, and December 8, 9, l(), 13_

14, 15. l6, l7, 20, and 22.

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l3. The exact number of` phone calls made to Mr. Bauer is unknown to him. but
should be well known to Kohl's.

l4. Mr. Bauer never gave pemtission to Kohl'S to place calls to his cellular phone,
either expressed or implied. nor did he give permission for anyone else to give out or otherwise
use his cellular phone number for their own purposes

l5. Kohl’s conduct caused Mr. Bauer anger, anxiety, emotional distress, frustration,
amongst other negative emotions. as well as suffering from unjustified and abusive invasions of
personal privacy at Mr. Bauer's home and workplace

l6. Mr. Bauer has hired the aforementioned law firm to represent him in this matter

and is obligated to pay their reasonable f`ees.

COUN'I` l- VlOLATlONS OF THE TCPA

17. Mr. Bauer adopts and incorporates the above-numbered paragraphs as if f`ully
stated herein.

l8. Kohl’s knowingly and willf`ully violated 47 U.S.C. § 227(b)(l)(A)(iii) when it
repeatedly dialed Mr. Bauer’s cell phone number using an automated dialing mechanism with
prerecorded content and utilizing an artificial voice without his consent and after having been
asked to stop.

19. As a consequence of` its violations, Kohl’s is liable under the TCPA to Mr. Bauer
f`or willfully and knowingly failing to comply with the TCPA.

20. Pursuant to the TCPA. Kohl's is liable to Mr. Bauer t`or statutory damages of

$ l `500 per calls actual damages, and costs.

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Zl. Furthermore. Mr. Bauer is. entitled to injunctive relief from potential future
violations of the TCPA.
WHEREFORE, Mr. Bauer respectfully requests that this Court orderjudgment against
Kohl's and for Mr. Bauer as f`ollows:
a. Statutory damages 0f$l.500 f`or each willful violation ofthe TCPA found to have
been committed pursuant to 47 U.S.C. § 227(b)(3)(B);
b. Actual damages for all damages including emotional distress suffered due to the

intentional, reckless, and/or negligent TCPA violations, pursuant to 47 U.S.C. §

227(b)(3)(B);
c. Costs pursuant to the TCPA;
d. Equitable relief enjoining Kohl`s from further violations of the TCPA, pursuant to

47 u.s.c. § 227(b)(3)<A); and,

e. Such other reliefthat this Court deemsjust and proper.

COUNT ll - NEGL|GENCE

22, Mr. Bauer adopts and incorporates the above-numbered paragraphs as if fully
stated herein.

23. Kohl’s has a duty under federal law to only use automated telephone dialing
equipment when it has permissible purpose to do so.

24. Kohl’s has an obligation to not call the same party numerous times when it has
been informed that they are calling an incorrect party.

25. Kohl’s knew or should have known that Mr. Bauer did not wish to be disturbed as

Mr. Bauer asked Kohl`s, repeatedly. to cease calling him for a third~party.

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26. Despite such knowledge. Kohl’s negligently continued to make calls to Mr.
Bauer's cellular phone.

27. Kohl’s foregoing actions and omissions constitute a breach of Kohl’s duty to Mr.
Bauer.

28. As a result of Kohl’s actions and omissions, Mr. Bauer has suffered actual
damages including. without limitation, anger. anxiety. emotional distress, f`rustration, amongst
other negative emotions, as well as suffering from unjustified and abusive invasions of personal
privacy at Mr. Bauer"s home and workplace

29. The actions of Kohl’s have caused him to incur legal costs and fees, which he
would not have otherwise expended

30. Kohl`s is liable for Mr. Bauer’s costs and attorney’s fees necessitated by its actions.

WHEREFORE, l\/lr. Bauer respectfully requests that this Court orderjudgment against

 

Kohl's for:
a. Unspecified actual damages;
b. Reasonable attorney fees;
c. Costs, including filing fees; and
d. Such other relief that this Court deems just and proper.
COUNT III - INVAS[ON OF PRIVACY
3l. Mr. Bauer adopts and incorporates the above-numbered paragraphs as if fully

stated herein.
32. Kohl’s actions constituted numerous. repeated. electronic intrusions into Mr.

Bauer’s private quarters where he had a reasonable expectation of peace and privacy.

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33. Kohl"s acted intentionally in continuing to call Mr. Bauer's telephone in seeking

“.ieanine."
34. Kohl’s` actions caused harm to l\/lr. Bauer's emotional well-being by invading and

intruding upon Mr. Bauer`s right to privacy.

35. Mr. Bauer’s expectation of privacy in his solitude. seclusion. and private concerns
and affairs was reasonable under the circumstances in this matter.

36. These intrusions and invasions by Kohl’s occurred in such manner and frequency
as to be highly offensive to a reasonable person in his position.

37. As a result of Kohl’s intrusions_, l\/lr. Bauer has suffered actual damages including,
without limitation, anger, anxiety, emotional distress, frustration. amongst other negative
emotions. as well as suffering from unjustified and abusive invasions of personal privacy at Mr.
Bauer’s home and workplace

38. As a result of its intentional acts in violation of Mr. Bauer’s privacy. Mr. Bauer
has been forced to retain counsel in an effort to prevent further violations, rendering Kohl’s
liable for Mr. Bauer’s costs and attorney’s fees.

WHEREFORE, Mr. Bauer respectfully requests that this Court orderjudgment against

Kohl’s for:
a. Unspecified actual damages;
b. Reasonable attorney fees;
c. Costs, including filing fees; and,
d. Such other reliefthat this Court deemsjust and proper.

 

 

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JURY TRIAL DEMANDED
Mr. Bauer hereby demands a trial byjury on all issues so triable.

Respectfully submitted this l3th day of December 2013. by:

/s/ Christina l\/l. Cowart
Christina M. Cowart

Florida Bar # 27644

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